                  SIXTH DISTRICT COURT OF APPEAL
                         STATE OF FLORIDA
                        _____________________________

                             Case No. 6D2023-0030
                   Lower Tribunal No. 2013-CF-001632-AXXX
                      _____________________________

                                   DAVID DELLY,

                                     Appellant,
                                         v.

                                 STATE OF FLORIDA,

                                     Appellee.
                        _____________________________

                  Appeal from the Circuit Court for Collier County.
                             Ramiro Mañalich, Judge.

                                  August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, SMITH and BROWNLEE, JJ., concur.


Deana K. Marshall, of the Law Office of Deana K. Marshall, P.A., Riverview, for
Appellant.

Ashley Moody, Attorney General, Tallahassee, and David Campbell, Assistant Attorney
General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING AND
              DISPOSITION THEREOF IF TIMELY FILED
